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                       Exhibit A
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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 Matthew Nagel,
 individually and on behalf of all others               Civ. No. 18-cv-01053
 similarly situated,

                         Plaintiff,                     DECLARATION OF
                                                         SHAWN MOORE
 v.

 United Food and Commercial Workers
 Union, Local 653,

                         Defendant.


        I, Shawn Moore, am over eighteen years of age. On my personal knowledge, I

declare the following.

        1.    I work at the Cub Foods in Savage, Minnesota. I am a member of United

Food and Commercial Workers Union, Local 653 (the Local), the defendant in this case.

        2.    Before March 2018, my collective bargaining agreements with my employer

provided for a “30-and-out” pension benefit, which allowed me to take full retirement

benefits after completing thirty years of qualifying employment service.

        3.    I was asked to join the Local’s “SuperValu & Small Employers’ Bargaining

Committee” (the Bargaining Committee) for collective bargaining negotiations between

the Local and various grocery stores including Supervalu Cub Foods stores (the Grocers)

in February 2018. The Bargaining Committee had around 20 members.

        4.    As a member of the Bargaining Committee, I was present at negotiations

between the Local and the Grocers at the DoubleTree Park Place in St. Louis Park on
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February 1, 2018, February 7, 2018, February 8, 2018, and February 26, 2018; at the

Brooklyn Center Embassy Suites on February 27, 2018; and again at the DoubleTree Park

Place on March 1, 2018.

       5.     Shortly after the first negotiating session began on February 1, I received

documents from Local president Matt Utecht showing the Local was unilaterally conceding

the 30-and-out benefit. I believe the Local made this concession on its own and the Grocers

had not pressured the Local to give up this benefit.

       6.     At the end of the February 1 bargaining session, Local officials instructed us

not to reveal anything to other members about concession of the 30-and-out benefit, saying

nothing had been decided yet.

       7.     At the next negotiating session on February 7, I privately confronted Mr.

Utecht about the loss of the 30-and-out benefit.

              a.     Mr. Utecht informed me that the Local might negotiate concessions

                     from the Grocers in exchange for giving up 30-and-out, such as by

                     extending the cut-off date before the 30-and-out benefit terminated.

                     Mr. Utecht told me to stay quiet about this possibility. Since then,

                     neither Mr. Utecht nor other Local officials ever suggested the Local

                     would be pushing for more in exchange for giving up the 30-and-out

                     benefit.

              b.     I asked Mr. Utecht whether members would be informed about the

                     loss of the 30-and-out benefit before voting on a proposed collective



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                     bargaining agreement (CBA). Mr. Utecht assured me that, before the

                     vote, members would be fully informed.

       8.     Later during the February 7 bargaining session, the Local shared documents

confirming its willingness to eliminate the 30-and-out benefit for those who had not earned

30 years’ qualifying service by December 31, 2018.

       9.     Throughout the negotiations, the Local discouraged me and other Bargaining

Committee members from discussing the concession of the 30-and-out benefit or any other

terms. When another Bargaining Committee member took pictures of proposed collective

bargaining agreement (CBA) terms and shared them with members outside the Bargaining

Committee, Mr. Utecht and Local secretary-treasurer Paul Crandall confronted the full

Bargaining Committee and demanded that all negotiations be kept secret. By comparison,

in past collective bargaining negotiations, the Local periodically updated the membership

about ongoing negotiations and kept them advised of current proposals.

       10.    I believe Local officials were afraid that, if members knew that the Local had

conceded the 30-and-out benefit, a proposed CBA would not be ratified.

       11.    When the Local and the Grocers were close to reaching a deal, the proposed

CBA was put before the Bargaining Committee for a vote of confidence. I was the sole

member of the Bargaining Committee to vote against the proposed CBA.

       12.    After the Local and the Grocers had reached agreement, the Local drafted a

communique, asking Bargaining Committee members use the message in the communique

when discussing the proposed CBA with other Local members. The communique stated

that the Bargaining Committee had unanimously voted in favor of the proposed CBA. That

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was not true because I had voted against it. The communique also said nothing about the

Local’s concession of the 30-and-out benefit.

       13.    The Local presented the proposed CBA to the membership for a ratification

vote during a meeting on March 4, 2018.

       14.    Early that day, Union officials met with the Bargaining Committee to discuss

the upcoming vote.

              a.     I looked at the documents that had been shared with the membership

                     and asked where the Local had disclosed its concession of 30-and-out.

                     Rena Wong, director of organizing for the Local, responded that this

                     information was “nowhere.” Mr. Utecht was present and privy to this

                     exchange, and he did not contradict Ms. Wong.

              b.     Union officials told us that, if members had any questions about their

                     pension benefits or the 30-and-out benefit, we should direct them to a

                     pension benefits table where members could ask about their benefits.

       15.    The March 4 meeting started around 8 a.m. and the Local started balloting

on the ratification vote no later than 9 a.m. The Local made no effort to publicize the loss

of the 30-and-out benefit before balloting began or while balloting remained open.

       16.    The balloting began around the same time that the pension benefits table was

staffed. Unless members inquired at the pension benefits table before voting, there were no

other communications from the Local that would put members on notice that their 30-and-

out benefit was at stake. I believe a significant number of members voted without being

aware they were giving up the 30-and-out benefit.

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       17.    I checked the pension benefits table and noticed that none of the materials

there mentioned the loss of the 30-and-out benefit. To the best of my knowledge, the only

way the Local would acknowledge loss of the 30-and-out benefit was if a member directly

put that question to table staffers.

       18.    When I discussed the proposed CBA with other members, I told them to vote

their conscience, but because of the loss of the 30-and-out benefit I was voting against the

proposed CBA.

       19.    Later in the meeting, the relevant membership voted to ratify the proposed

CBA. My best recollection is that 251 members voted yes and 109 members voted no. In

my experience, 109 no votes is an unusually high number. I believe that, as more members

became aware of the loss of 30-and-out benefits over the course of the day, more members

decided to vote against the proposed CBA.

       20.    I estimate that the total number of members covered by the proposed CBA is

several thousand. I further estimate that less than ten percent of those members voted on

the proposed CBA.

       21.    After the ratification vote, Mr. Utecht met with the Bargaining Committee to

discuss the recent vote. Mr. Utecht told us that he did not want the membership to know

the exact results and suggested we say that the CBA passed by a “wide margin.”

                                   [signature page follows]




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               I declare under penaþ of perjury wrder the laws of the United   States of America

        that the foregoing is   tue   and oorrect.



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